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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


  UNITED STATES OF AMERICA,                            )
                                                       )
                        Plaintiff,                     )
                                                       )
         v.                                            )
                                                       ) Cause No. 1:16-cr-0190-SEB-MJD-01
  AKRAM I. MUSLEH,                                     )
                                                       )
                        Defendant.                     )


                       GOVERNMENT’S SENTENCING MEMORANDUM

         Comes now the United States of America, by counsel, Josh J. Minkler, United States

  Attorney for the Southern District of Indiana, and Matthew J. Rinka, Assistant United States

  Attorney, and respectfully submits this Sentencing Memorandum in the captioned cause.


  I.     Procedural Background

         On May 23, 2018, the defendant, Akram I. MUSLEH (hereinafter MUSLEH or

  defendant) pled guilty to one count of Attempting to Provide Material Support and Resources to

  a Foreign Terrorist Organization, in violation of 18 U.S.C. §§ 2 and 2339B(a)(1). The offense is

  punishable by a maximum sentence of not more than 20 years' imprisonment, a fine of not more

  than $250,000, and a term of supervised release of any term of years, including life.

         On August 23, 2018, the U.S. Probation Office filed an amended Presentence

  Investigation Report (“PSR”). (Docket 122) In that report, the Probation Office concluded that

  MUSLEH’s Base Offense Level was 26 (U.S.S.G. §2M5.3(a)). The probation office then added

  two levels because the offense involved the provision of material support with the intent,

  knowledge, or reason to believe such material support was to be used to commit or assist in the


                                                  1
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  commission of a violent act (U.S.S.G. §2M5.3(b)(1)(E)), and a further 12 levels were added

  because the offense conduct was a felony that involved, or was intended to promote, a federal

  crime of terrorism (U.S.S.G. §3A1.4(a)). The Probation Office then subtracted 3 levels to

  account for MUSLEH’s acceptance of responsibility, making MUSLEH’s Adjusted Offense

  Level 37. As the instant offense involved a federal crime of terrorism, MUSLEH’s Criminal

  History Category is VI by operation of U.S.S.G. §3A1.4(b).

         The guideline range resulting from an Adjusted Offense Level of 37 and a Criminal

  History Category of VI is 360 months to life imprisonment. However, as the statutory maximum

  sentence of incarceration for the instant offense is 240 months, 240 months becomes the

  guideline range. (U.S.S.G. §5G1.1(a))

         In conjunction with the government’s motion pursuant to U.S.S.G. §5K1.1 (Dkt.

  138), the parties have subsequently stipulated to a recommended sentencing range of not less

  than 132 months and not more than 192 months’ imprisonment. Each party is free to argue for

  whatever sentence, within that range, they deem appropriate. No stipulations have been made

  with respect to the recommended term of supervised release, up to a lifetime term, that should be

  imposed.

         This matter is scheduled for a sentencing hearing on June 21, 2019. For the reasons set

  forth below, and those outlined in the government’s separate Motion Pursuant to U.S.S.G.

  § 5K1.1, the government believes the Court should sentence the defendant to a term of

  imprisonment at or near 192 months.




                                                  2
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  II.     Summary of Offense Conduct and Relevant Conduct

          Between approximately July of 2013 and June of 2016, MUSLEH traversed a dangerous

  path of self-radicalization and affiliation with the Islamic State of Iraq and al-Sham (“ISIS”)1, a

  designated Foreign Terrorist Organization. The facts set forth herein, below, are facts which

  Special Agents of the Federal Bureau of Investigation (“FBI”) would testify to if called as

  witnesses at defendant’s sentencing hearing. While this factual recitation is lengthy and detailed,

  it highlights important dialogue between MUSLEH and others,2 and provides critical context to

  the offense conduct in this case.

          a. Early Evidence of Musleh’s Radical Ideology

          In the summer of 2013 MUSLEH sought out and began posting videos of Anwar al-

  Awlaki, a member of al-Qaeda in the Arabian Peninsula (AQAP), on his various social media

  accounts. MUSLEH also commented directly on similar videos posted online by others,

  expressing his support and praise for al-Awlaki’s ideology. MUSLEH’s online activities caught

  the attention of the Federal Bureau of Investigation (“FBI”), and in December of 2013 the FBI

  interviewed MUSLEH at Brownsburg High School (“BHS”), where MUSLEH was enrolled as a

  student. Brownsburg school officials and a BHS School Resource Officer (“SRO”), who had

  previously been assigned to MUSLEH’s middle school, were also present for the interview.

  1
    On October 15, 2004, the U.S. Secretary of State designated al-Qaeda in Iraq (“AQI”), then known as Jam’at al
  Tawhid wa’al-Jihad, as a Foreign Terrorist Organization (“FTO”) under Section 219 of the Immigration and
  Nationality Act (the “INA”) and as a Specially Designated Global Terrorist under section 1(b) of Executive Order
  13224. On May 15, 2014, the Secretary of State amended the designation of AQI as an FTO under Section 219 of
  the INA and as a Specially Designated Global Terrorist entity under section 1(b) of Executive Order 13224 to add
  the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary name. The Secretary also added the following
  aliases to the FTO listing: the Islamic State of Iraq and al-Sham (i.e., “ISIS”—which is how the FTO will be
  referenced herein), the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-‘Iraq wa-sh-Sham, Daesh, Dawla
  al Islamiya, and Al-Furqan Establishment for Media Production. In an audio recording publicly released on June 29,
  2014, ISIS announced a formal change of its name to the Islamic State. On September 21, 2015, the Secretary
  added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date, ISIS remains a designated
  FTO.
  2
    The dialogue set out in this pleading is the product of court-authorized electronic surveillance conducted by the
  FBI, and/or were recovered during a court-authorized searches of MUSLEH’s electronic devices post-arrest.
                                                          3
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  During that interview, MUSLEH acknowledged posting the videos of al-Awlaki online, and told

  FBI agents he supported al-Awlaki and the terrorist group Hamas. MUSLEH advised agents that

  his mother was the person who introduced him to al-Awlaki’s sermons.3

          Following the meeting at BHS, the FBI and BHS officials made an effort to monitor

  MUSLEH in an effort to deter him from going down a road toward radicalization. As part of

  that effort, the aforementioned BHS SRO sought to interact with MUSLEH on a frequent basis.

  Among other things, MUSLEH and the SRO would discuss current political events, religion, and

  differences between Christianity and Islam. At one point Musleh even invited the SRO to

  worship at his mosque.

          Despite the efforts of the FBI and school officials, and unbeknownst to the FBI,

  MUSLEH continued on a path to radicalization. In the summer of 2014, MUSLEH used his

  mother’s credit card to purchase a black Shahada flag, the flag that ISIS uses as the symbol for

  their terrorist organization. MUSLEH subsequently took a picture of the flag itself and posed for

  a picture in front of the flag, mimicking a pose often struck by ISIS fighters in Iraq and Syria. In

  April of 2015, MUSLEH and a male cousin were reported to Brownsburg Police for approaching

  juveniles at a Brownsburg park and asking if the juveniles wanted to join DAESH (another name

  for ISIS). Shortly thereafter, MUSLEH’s conduct took a very serious turn.

          b. Musleh’s attempts to travel to join ISIS in 2015

          On April 17, 2015, MUSLEH booked a flight from Chicago, Illinois to Erbil, Iraq, using

  his mother’s credit card. The flight was scheduled to depart on April 22, 2015. MUSLEH also

  booked a Greyhound bus ticket for travel on April 22, 2015, from Indianapolis, Indiana to


  3
    On June 21, 2016, a consent search was performed on the vehicle driven by MUSLEH’s mother. In her vehicle the
  FBI located a binder containing multiple CD’s with recordings of Anwar al-Awlaki.


                                                        4
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  Chicago, Illinois using the same credit card. On April 18, 2015, the Chicago to Erbil flight was

  canceled.4

          On June 3, 2015, MUSLEH booked two separate flights from Chicago, Illinois, to

  Istanbul, Turkey. One flight, scheduled to depart on June 6, 2015, was booked using

  MUSLEH’s mother’s credit card. The second flight, scheduled to depart on June 8, 2015, was

  booked using “cash” as the payment option. Both of those flights were subsequently cancelled.

  On June 17, 2015, MUSLEH booked a third flight from Chicago to Istanbul, this time using his

  brother’s credit card. This third flight was scheduled to depart on June 23, 2015.

          On June 23, 2015, FBI agents observed MUSLEH being driven to Chicago’s O’Hare

  airport by his brother. Agents also observed that MUSLEH’s mother and several other family

  members were present at the airport to see MUSLEH depart. Prior to boarding his flight,

  however, MUSLEH was intercepted by U.S. Customs and Border Protection (“CBP”) authorities

  and told he could not travel overseas on his passport, because it expired in less than six months.5

  MUSLEH was subsequently interviewed by CBP concerning his trip, and his luggage and

  electronic devices were searched. The search of MUSLEH’s luggage revealed several journals

  which contained quotes from multiple members of designated terrorist organizations to include:

  al-Qaeda, al-Qaeda in the Arabian Peninsula, al-Qaeda in Iraq, and ISIS.

          During the interview with CBP, MUSLEH told CPB officers that he was traveling to

  Istanbul to meet his “fiancée”, Individual #1, a woman he had met online. The FBI has since

  determined that Individual #1, who was from Sweden, and MULEH planned to meet in Istanbul


  4
    On April 20, 2015, in another effort to “off-ramp” MUSELH following the Brownsburg Park incident, MUSLEH’s
  mother and his (then) step-father were interviewed by the FBI. At the time of this interview, the FBI was unaware
  that MUSEH had booked the flight from Chicago to Iraq, departing on April 22, 2015, and neither MUSLEH’s
  mother nor step-father alerted the FBI that MUSLEH wanted to join ISIS and was actively attempting to travel
  overseas.
  5
    MUSLEH’s passport expired on August 31, 2015.
                                                          5
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  and then travel to Syria and join ISIS together. The FBI’s investigation has since revealed that

  Individual #1 was likely successful in her effort to join ISIS after MUSLEH’s failed attempt to

  travel.

            On August 3, 2015, MUSLEH and his mother went to a U.S. Post Office in Merrillville,

  Indiana, to apply for a new U.S. passport.

            c. Musleh’s Contacts with ISIS and Plan to Travel in 2016

            In November 2015, MUSLEH began to communicate with Individual #2. Individual #2

  at the time was living in New York, NY, and MUSLEH expressed a desire to move from Indiana

  to New York and live with Individual #2. MUSLEH told Individual #2 that his family had

  “moved away” from him due to his support for ISIS. MUSLEH continued to communicate with

  Individual #2 for several months thereafter.6

            In a phone call with his uncle on January 6, 2016, MUSLEH told his uncle that he just

  received his new passport and the pair joked about MUSLEH “doing the same thing again”,

  namely getting a one way ticket to Syria or Turkey. MUSLEH joked with his uncle that he

  wanted a one-way ticket to Syria, and if there were no airports in Syria MUSLEH could get to,

  “they (referring to the airline) can just throw me off the airplane,” or words to that effect.

  Continuing in the same conversation, his uncle asked MUSLEH, “what if they already planned

  out a whole thing… for you?” MUSLEH responded, “I don’t care if they plan it out. I don’t, I

  really don’t care. If they plan it out, I go to the airport and go to a different place. Anyway, the

  only place I’d go right now is Palestine. And, uh, I don’t really care. … That’s what I’m saying.

  What the hell they gonna do?”



  6
   MUSLEH later learned that Individual #2 was arrested by the FBI on May 24, 2016, for charges related to
  providing material support to the terrorist organization ISIS. Individual #2 pled guilty to those charges on February
  21, 2018.
                                                            6
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           On February 24, 2016, MUSLEH communicated with Individual #3 via an encrypted

  telephone application. In this chat, MUSLEH and Individual #3 sent audio and video files to

  each other. MUSLEH texted Individual #3, “I want that nasheed7 make.me.a.martyr so bad

  😭😭.” MUSLEH then sent Individual #3 an electronic file, and Individual #3 responded by

  saying “U gonna get me raided ;).” In the same conversation, MUSLEH told Individual #3 that

  some nasheeds were too radical to send via the encrypted application.

           On April 6, 2016, MUSLEH booked a one-way ticket from John F. Kennedy

  International (“JFK”) airport in New York to Nador, Morocco, departing on June 23, 2016.

  Based on information the FBI gleaned from MUSLEH’s online communications, MUSLEH

  intended to travel to Morocco to meet and marry Individual #4, with whom MUSLEH had met

  and begun communicating through various social media and encrypted communication

  platforms. Individual #4 was from Morocco and lived in Spain at the time she was

  communicating with MUSLEH.

           During a subsequent conversation between MUSLEH and Individual #4 on April 19,

  2016, however, Individual #4 told MUSLEH that she was terminating the relationship with

  MUSLEH and they were no longer getting married. Individual #4 blamed her father for that

  decision, saying that her father would not permit her to marry MUSLEH. Despite being told that

  Individual #4 would not marry him, MUSLEH continued to communicate with Individual #4 by

  email until April 27, 2016, which was the last email sent from Individual #4 to MUSLEH.8




  7
    A nasheed is a work of vocal music that is either sung acappella or accompanied by percussion instruments. “In
  public meetings or online propaganda videos, Islamist hymns, known as anasheed jihadiya or simply nasheeds, have
  become inseparable from the image of violent groups in the Middle East. These chants are now the soundtrack of
  jihad.” See, https://www.euronews.com/2014/10/08/nasheeds-the-soundtrack-of-jihad, (last accessed June 12, 2019)
  8
    In October of 2017, Individual #4 was arrested by authorities in Spain for charges related to her role as a facilitator
  for people wanting to join ISIS.
                                                             7
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          On May 1, 2016, MUSLEH began using his cellular phone to search the internet for

  methods of staying anonymous on his phone, including the use of TOR, a free, open-source

  software for enabling anonymous communication and concealing a user’s location and browsing

  activity on the internet.

          On May 3, 2016, MUSLEH reached out to Individual #3 through the same encrypted

  social media application they had used previously. MUSLEH inquired if Individual #3 had been

  in contact with Individual #5 by using various online names. Individual #3 told MUSLEH he

  had not been in contact with Individual #5 and did not seem to know Individual #5. MUSLEH

  asked if Individual #3 knew anybody like him who lives “there,” meaning in ISIS territory. On

  May 4, 2016, Individual #3 provided MUSLEH with a social media contact for Individual #6,

  and told MUSLEH that Individual #6 could provide assistance in traveling to join ISIS. In the

  same conversation, MUSLEH provided his (MUSLEH’s) social media account information to

  Individual #3, and asked Individual #3 to provide that account information to Individual #6.

          On May 3, 2016, MUSLEH also reached out to Individual #7 on an encrypted application

  and asked Individual #7 if he knew Individual #5. Individual #7 asked MUSLEH if he was in a

  big hurry and MUSLEH replied that he was in a hurry and asked Individual #7 to “help me.”

  Individual #7 replied that he had passed MUSLEH’s contact information to another person who

  should contact MUSLEH. During this conversation with MUSLEH, Individual #7 alluded to the

  fact that he (Individual #7) was fighting with ISIS overseas. As MUSLEH and Individual #7

  continued exchanging messages, MUSLEH guessed Individual #7’s “kunya,” an Arabic

  pseudonym that is used by ISIS fighters to conceal their true identity. MUSLEH proceeded to

  tell Individual #7 that they (MUSLEH and Individual #7) had communicated online a long time

  ago.


                                                  8
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          On May 5, 2016, MUSLEH contacted Individual #5 on a social media account and told

  Individual #5 how much MUSLEH had missed Individual #5. MUSLEH explained, “You might

  not know me but I'm the akhi [brother] that talked to you about a year ago and we even used to

  Skype and you talked to my Bro and all.” As MUSLEH and Individual #5 continued their

  dialogue, MUSLEH told Individual #5 that MUSLEH had been looking all over for him, that he

  renewed his passport, and that he made money. Individual #5 informed MUSLEH that, for

  purposes of traveling to Syria, time was not on MUSLEH’s side. MUSLEH then expressed an

  interest in traveling to another country to join ISIS, such as Libya or Masr [Egypt], and asked for

  help. Individual #5 asked MUSLEH about conducting operations in the U.S. MUSLEH told

  Individual #5 that many people were telling him to do that, to which Individual #5 suggested

  MUSLEH kill a few “kufr” (non-Muslims) or blow up a “drone place” in Florida.9 MUSLEH

  told Individual #5 that looking for the drone place might be suspicious. MUSLEH then asked

  Individual #5 what he thought was best, “so can you help or you think operation best solution.”

          Important in the context of MUSLEH’s conversation with Individual #5, on May 6, 2016,

  MUSLEH conducted a number of online searches using his phone and visited the resulting

  websites including:

          -   portable pressure cooker - Walmart.com;

          -   Brownsburg Walmart Supercenter - Walmart.com;

          -   How to Make Stable Flash Powder « Explosives & Fireworks;

          -   Spectracide 1 lb. Stump Remover HG-66420-4 at The Home Depot – Mobile;

          -   How to Make Stable Flash Powder « Explosives & Fireworks;



  9
   Based on the FBI investigation, the FBI assessed that Individual #5 was suggesting MUSLEH carry out an attack
  on a U.S. military installation in Florida where “drone” operations are conducted.
                                                         9
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        -   How to Make Flash Powder: 5 Steps (with Pictures) – wikiHow;

        -   Pressure cooking - Wikipedia, the free encyclopedia;

        -   2010 Times Square car bombing attempt - Wikipedia, the free encyclopedia;

        -   Faisal Shahzad - Wikipedia, the free encyclopedia;

        -   2010 Times Square car bombing attempt - Wikipedia, the free encyclopedia;

        -   Pressure cooking - Wikipedia, the free encyclopedia;

        -   Page 2 - Camping World;

        -   Camping Cookware, Pressure Cookers, Portable Induction Cooktop, Cast Iron Set -

            Camping World;

        -   timer plug - Walmart.com;

        -   outlet timer - Walmart.com;

        -   outlet adapter - Walmart.com;

        -   outlet convertions - Walmart.com;

        -   Aroma 20-Cup Programmable Rice Cooker, Slow Cooker and Food Steamer,

            Stainless Steel - Walmart.com

        -   The difference between stove top and electric pressure cookers • hip pressure cooking

        -   Power Cooker Pressure Cooker - Walmart.com

        -   wireless pressure cooker

        -   RAS AK47 Rifle MAGPUL MOE RI2362-N

        -   AK47 Rifles - AK47 For Sale | Atlantic Firearms | AR15 & AK47 Rifles

        -   Petronov Arms AK47 Rifle

        -   AK47 Rifles - AK47 For Sale | Atlantic Firearms | AR15 & AK47 Rifles

        -   425-Watt Dual-Outlet Smooth Start Power Inverter
                                                10
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             On May 9, 2016, while under FBI physical surveillance, MUSLEH was observed leaving

  his residence and driving to a nearby Walmart. MUSLEH was subsequently observed inside the

  Walmart looking at pressure cookers. MUSLEH ultimately left the store without purchasing a

  pressure cooker.

             Also on May 9, Individual #7 contacted MUSLEH and provided an encrypted application

  contact for MUSLEH to contact concerning his plan to travel to join ISIS.

             On May 10, 2016, MUSLEH was contacted on a social media account by Individual #6.

  MUSLEH asked Individual #6 if he knew anyone that could help with “hijrah”. Hijrah is an

  Arabic term meaning “migration.” The term historically refers to the journey undertaken by the

  Islamic prophet Muhammad from Mecca to Medina. In a modern, extremist context, the term

  “hijrah” has been used to describe a foreign fighter’s journey from his/her country of origin to

  terrorist-held territories abroad.10 Significantly, at this point in his online communications,

  MUSLEH was using code to refer to his plans to travel to join ISIS. For example, MUSLEH

  would ask his contacts if they knew of someone who could help with “h”, meaning hijrah.

             In response to MUSLEH’s request, Individual #6 provided MUSLEH with a social media

  account and indicated that the owner of that account could help MUSLEH and that he was

  “authentic” like Individual #5. MUSLEH told Individual #6 that he just followed the provided

  account. On May 11, 2016, MUSLEH told Individual #6 that the provided account was deleted

  and asked if Individual #6 knew anybody else that may help.

             On May 11, 2016, MUSLEH began communicating with Individual #8 on an encrypted

  mobile application. MUSLEH initiated the contact with Individual #8 and inquired how the

  ikhwan11 (ISIS members) were where Individual #8 was located. MUSLEH also asked


  10
       See, https://www.counterextremism.com/content/hijrah
  11
       Ikhwan is Arabic for “brothers”. See, https://www.counterextremism.com/glossary
                                                          11
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  Individual #8 if he knew Individual #5, to which Individual #8 replied that he did. MUSLEH

  then asked if Individual #5 told Individual #8 what MUSLEH needed. Individual #8 responded,

  “You wanna make H Right?” MUSLEH responded in the affirmative and told Individual #8 that

  he wanted to travel to Masr (Egypt) or Lybia [sic] and that he lived in America. Individual #8

  asked if MUSLEH had “Tazkia”, but MUSLEH indicated he didn’t know what that was.12

  Individual #8 responded, “Do you know anyone in the Islamic State who knew you?” MUSLEH

  responded that he knew someone from ISIS and named Individual #5, mentioning that he was his

  friend. MUSLEH then sent a link to a news story pertaining to an ISIS fighter from the United

  Kingdom who MUSLEH identified as Individual #5. Individual #8 told MUSLEH that joining

  ISIS in Egypt was difficult and that Individual #8 knew an ISIS member from Egypt that

  couldn’t join ISIS in the Sina’i and had to travel elsewhere to join ISIS.

          Ultimately, Individual #8 asked MUSLEH for a different encrypted application username

  and for Individual #5’s social media account, both of which MUSLEH provided. MUSLEH

  further advised Individual #8 that he (MUSLEH) already had a ticket to Morocco for June and

  that he would need help fast. Individual #8 told MUSLEH to be patient.

          On May 14, 2016, MUSLEH reached out to Individual #9 through a social media account

  and asked for help for “h” to “lybia” [sic] or Masr (Egypt). MUSLEH indicated that he trusted

  Individual #9, who provided MUSLEH a different social media account to contact Individual

  #10. Individual #9 advised MUSLEH he could trust Individual #10, because Individual #10 was

  Individual #9’s “blood brother.”

          Subsequently on May 14, 2016, MUSLEH contacted Individual #10 and asked for help

  with “h”. MUSLEH told Individual #10 that he was previously speaking to Individual #5 but


  12
    Tazkia is an Arabic term meaning “purity of the self” that is commonly used by jihadists to refer to someone who
  has been “vouched for” by a member of the terrorist organization. In other words, someone who is trusted.
                                                          12
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  that person had disappeared. MUSLEH then asked if they could speak on an encrypted

  application which MUSLEH provided two different accounts to Individual #10. Individual #10

  told MUSLEH that Individual #5 was busy and that Individual #5 was in a video that Individual

  #10 would upload. Individual #10 told MUSLEH he would add MUSLEH as a contact on the

  encrypted application. MUSLEH told Individual #10 that he (MUSLEH) wanted to be in an ISIS

  video, and Individual #10 replied “come here [to Syria] and you can be.”

         On May 15, 2016, MUSLEH posted the following picture on his social media account:




                                                 13
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          On May 16, 2016, an FBI Confidential Human Source (CHS) contacted MUSLEH on an

  encrypted application and told MUSLEH the CHS has heard that MUSLEH wanted to do hijrah.

  MUSLEH asked if the CHS helped with “h” to “s” (Syria) or “l” (Libya). The CHS asked

  MUSLEH if he had prepared himself for hijrah, which MUSLEH replied in the affirmative.

  MUSLEH asked the CHS when the border in “t” (Turkey) opened for “s” (Syria) as MUSLEH

  heard it had gotten harder. The CHS told MUSLEH that the border situation between Turkey

  and Syria was the reason people were now going to Africa to join ISIS. MUSLEH told the CHS

  that he heard there were openings in the Turkey border and that he (MUSLEH) preferred going

  to Bilad al-Sham [Syria] as opposed to Africa as they speak a different Arabic in Africa.

          On May 18, 2016, while under FBI surveillance, MUSLEH was observed purchasing

  three suitcases from a department store in Brownsburg, Indiana. On that same date MUSLEH

  was observed at a sporting goods store looking at firearms. MUSLEH did not purchase any

  firearms or have any interaction with store employees.

          Later on May 18, 2016, the FBI CHS contacted MUSLEH on the same encrypted

  application. MUSLEH inquired of the CHS what other countries were open to join ISIS. The

  CHS responded that Egypt, Libya, and Sudan were options for travel to join ISIS. MUSLEH

  told the CHS that it was hard to trust others and the persons he (MUSLEH) talked to about his

  plan were friends of his for a long time. The CHS asked MUSLEH if he had formally pledged

  allegiance to ISIS, known as Bay’ah, and MUSLEH replied that he had.13

          On May 19, 2016, while under FBI surveillance, MUSLEH was observed at a different

  sporting goods store looking at firearms.




  13
    Bay’ah is a pledge of allegiance to an Islamic leader. ISIS has instructed Muslims world-wide to give bay’ah to
  the groups leader, Abu Bakr al-Baghdadi. See, https://www.counterextremism.com/glossary
                                                          14
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            On May 22, 2016, MUSLEH used an encrypted mobile application to contact Individual

  #11 and asked, “do you think it’s expensive; to buy a ticket from the airport.” Individual #11

  responded, “I don’t know thw [sic] prices.”14 Later that same day, MUSLEH contacted a travel

  agency to inquire about flights from Morocco to Sudan for June 28, 2016. The travel agency

  told MUSLEH there were no flights available. MUSLEH asked the travel agent how he could

  get to the Sudan from Morocco, but ultimately MUSLEH did not book a flight.

            On May 24, 2016, MUSLEH contacted the FBI CHS via the same encrypted application

  they had previously used. MUSLEH asked the CHS, “how can one go to lybia [sic]?” The CHS

  responded, “the best way to fly Sudan or Egypt or morocco as a visitor then drive to Libya.”

  MUSLEH responded, “Morocco???” The CHS responded, “for me I have brothers can help.”

  MUSLEH responded, “I heard only Sudan; who will drive me?” Later in the same conversation,

  MUSLEH sent the CHS a picture aimed at vetting the CHS’s legitimacy as an ISIS supporter.

  Referring to the picture, MUSLEH asked the CHS to, “name these men please.” The picture

  (attached below) contained the eyes and faces of the following persons from top to bottom:

  Mullah Omar (leader of the Taliban), Osama bin Laden (Leader of Al-Qaeda ), Abu Musab al-

  Zarqawi (Al-Qaeda in Iraq leader), Abu Ayyub al-Masri (Al-Qaeda in Iraq leader), and Abu

  Bakr al-Baghdadi (ISIS founder).




  14
       It is believed that Individual #11 and Individual #10 are/were the same person.
                                                          15
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  Later in the same conversation, MUSLEH asked the CHS, “buy [sic] you say there is a way from

  Morocco??? If yes that is good for me.” CHS responded, “inshaAllah is good for you.”15

  MUSLEH responded, “so we drive though [sic] Algeria and Tunis.”

             On May 25, 2016, MUSLEH contacted Individual #12 on a social media account and

  inquired if Individual #12 knew where Individual #5 was. MUSLEH then sent the social media

  account number for Individual #5 to Individual #12. Individual #12 indicated he had not seen

  Individual #5 for a while. MUSLEH then asked Individual #12, “how can one go to lybia [sic]?

  Is it only through Sudan?” Individual #12 replied, “yes; Sudan is to lybia what turkey is to

  sham.”16




  15
       Inshallah, meaning if Allah wills it.
  16
       “Sham” refers to then ISIS-controlled territory in Syria.
                                                               16
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          On May 30, 2016, MUSLEH received a link to several different webpages from

  Individual #13 on a social media account titled Khilafah News from Al Hayat Media center.17

  MUSLEH responded back to Individual #13 with “love it.”

          On June 1, 2016, MUSLEH contacted a travel agency and inquired if he would be

  stopped at the airport because he only had a one way ticket to Morocco. The travel agency

  advised MUSLEH he should contact the airlines. MUSLEH then contacted the airline

  concerning his flight departing on June 23, 2016. MUSLEH asked the airline if they would

  allow him to leave the U.S. on a one way ticket. The airlines advised MUSLEH to contact

  authorities in the U.S., and MUSLEH replied he would contact the TSA.

          Later on June 1, 2016, MUSLEH and Individual #12 continued discussing MUSLEH’s

  plan to travel to join ISIS via a social media account. MUSLEH told Individual #12 that he was

  flying to Morocco and that he needed to get a roundtrip ticket but it was a waste of money as he

  (MUSLEH) was not coming back at the moment. MUSLEH asked Individual #12 for advice

  about what ticket to purchase as he (MUSLEH) didn’t want to lose money. Individual #12

  advised MUSLEH that everyone that travels to join ISIS buys a roundtrip ticket as a “good alibi”

  to let you fly, but a one-way ticket was considered very suspicious. Individual #12

  recommended MUSLEH buy a roundtrip ticket from the U.S. to Morocco, and a round trip ticket

  from Morocco to Sudan. MUSLEH then asked Individual #12 if he (MUSLEH) should fly from

  the U.S. to Morocco, sit a week in Morocco, and then fly to Sudan. At that point, Individual #12

  asked MUSLEH where he was making hijrah from. When MUSLEH indicated that he was

  traveling from the U.S., Individual #12 told MUSLEH it was not safe to communicate on that



  17
    Open source searches for “Al Hayat Media Center” reveal it is the media arm of the Islamic State. In or around
  March of 2019, the U.S. Department of State advised that it has amended the terrorist designations of the Islamic
  State of Iraq and al-Sham (ISIS) to include Amaq News Agency, Al Hayat Media Center, and other aliases.
                                                          17
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  social media platform. In response, MUSLEH suggested communicating on another of two

  encrypted mobile chat applications.

          On June 3, 2016, MUSLEH contacted a travel agency and booked a return flight from

  Morocco to the U.S. The flight was booked to depart on July 21, 2016, from Casablanca,

  Morocco, to JFK Airport in New York.

          On June 4, 2016, MUSLEH told Individual #12 that he just bought stuff for his trip.

  Individual #12 told MUSLEH that his contacts were not replying as they may be deployed to

  Ribat (meaning guard duty for ISIS). MUSLEH told individual #12 that he bought his two-way

  ticket and MUSLEH felt like he burned his money. MUSLEH also indicated he bought a laptop

  and backpack for the trip, and Individual #12 advised MUSLEH those items would be useful.

  Individual #12 suggested MUSLEH get a loan,18 and pay for the items with credit, knowing that

  he would not pay the money back. MUSLEH then asked what more would he need for his

  travel, to which Individual #12 replied MUSLEH should buy khaki pants, head lights, a jacket,

  and trainer shoes for military training. MUSLEH responded that he would get prepared.

          On June 7, 2016, MUSLEH and Individual #10 continued chatting via social media and

  MUSLEH asked Individual #10 to see if MUSLEH could get to Libya or Syria through any other

  country. Individual #10 asked “where and then L (meaning Libya)? MUSLEH responded that

  airline tickets were expensive and he already bought a roundtrip from the U.S. to Morocco, and

  he would now need another roundtrip ticket which would be too expensive.




  18
    The FBI has documented numerous instances in which perpetrators of terrorist attacks in the U.S. have taken out
  loans or incurred significant credit card debt immediately prior to carrying out such attacks. This method of
  obtaining money with no intention of paying it back is taught / discussed openly in various ISIS propaganda.
                                                          18
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         On June 8, 2016, MUSLEH again asked Individual #10 “if there is a cheaper way to get

  there.” Individual #10 asked MUSLEH when he would book his flight, and MUSLEH replied

  when he reached M (Morocco) around June 25, 2016.

         On June 9, 2016, MUSLEH asked Individual #10 if there was anything new with the “s

  (Syria) path,” and Individual #10 indicated he would ask his contact “today”. MUSLEH then

  told Individual #10 he would choose from between Syria or Libya when he reached Morocco.

  The following day, June 10, 2016, MUSLEH remarked to Individual #10 that going to “t”

  (Turkey) was a lot cheaper.

         On June 12, 2016, MUSLEH contacted another account belonging to Individual #5 on

  social media. MUSLEH indicated that he had been looking for Individual #5 for help with “h”.

  Individual #5 told MUSLEH that hijrah was closed at the moment. MUSLEH indicated another

  person told him you can go another way. Individual #5 provided his encrypted mobile

  application account to MUSLEH and said to message him there.

         On June 13, 2016, MUSLEH contacted a social media account believed to belong to

  Individual #1, the woman from Sweden MUSLEH was supposed to meet in Turkey in June of

  2015. MUSLEH asked, “Ukhti (sister) are you really in Sham (Syria); and if so who helped

  you? I want help.” Individual #1 replied that she was, in fact, in Syria and that there were

  “brothers” helping muhajirin (those on hijrah). MUSLEH asked who was trusted and how much

  money it would cost to travel to join ISIS. Individual #1 replied that the trip was more

  expensive now than it was before. Individual #1 then instructed MUSLEH to purchase a new

  phone and to download a different encrypted mobile application. Individual #1 told MUSLEH

  that the “brothers” [ISIS members] will talk to him on that application. MUSLEH inquired if

  Individual #5 used that application.


                                                  19
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         Later that day, MUSLEH was contacted by Individual #14 using Individual #1’s social

  media account. Individual #14 indicated she was Individual #1’s friend and would provide

  MUSLEH with her (Individual #14’s) encrypted phone application account. Individual #14 told

  MUSLEH to send a message to her (Individual #14) encrypted account when MUSLEH arrived

  in “Tur” (Turkey) and she would provide additional contacts. MUSLEH and Individual #14 then

  continued to use Individual #1’s social media account to discuss MUSLEH’s plans to travel and

  join ISIS.

         Also on June 13, 2016, MUSLEH used an encrypted mobile application to again discuss

  his plan to travel and join ISIS with Individual #5. Specifically, MUSLEH asked how much

  money it was going to cost to join ISIS, and Individual #5 told MUSLEH bring “as much

  [money] as you can.” On a related topic, MUSLEH asked Individual #5 to provide him

  (MUSLEH) with the daleel [evidence] for the authority to take out loans if the money was to

  support ISIS. MUSLEH was hesitant to take out loans from a bank, as such activity is typically

  forbidden under Islam.

         On June 14, 2016, MUSLEH and Individual #5 continued chatting via an encrypted

  mobile application. MUSLEH told Individual #5 that he was thinking of “hij” [hijrah]

  opportunities. In discussing what he could do if he was not allowed to travel, MUSLEH told

  Individual #5, “and if ome[sic] shoots here [the U.S.] they should not shoot random people; that

  ain’t going to do anything; militants is best; but that’s only if the way is blocked for you.”

  MUSLEH then continued, “I think killing a commander; is better than killing a citizen; but

  what’s best for the ummah is to kill a leader [sic]; if you kill any on this land [the U.S.]; it’s huge

  trust me; :P”. The “:P” at the end of that message appears to be meant as a silly emoji face with

  the tongue sticking out.


                                                    20
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          As their conversation continued, MUSLEH and Individual #5 continued to discuss ways

  MUSLEH could help ISIS. Individual #5 tried to convince MUSLEH to send money to ISIS, but

  MUSLEH was reluctant to send money and expressed fear that he might get caught. To

  emphasize the point, MUSLEH said, “[I] don’t want to lose my freedom before doing something

  massive.”

          On June 15, 2016, MUSLEH again made contact with Individual #15 to discuss joining

  ISIS. Individual #15 expressed to MUSLEH that she wanted to leave her country and join ISIS

  in Syria. Individual #15 told MUSLEH that she was looking for someone who was there to give

  her tazkia and then she would travel. Individual #15 told MUSLEH it was difficult to not have a

  guide and that she already got caught the last time she tried to join ISIS. MUSLEH told

  Individual #15 she should go to Morocco first and then from there go to Turkey. Passing along

  information others had given him, MUSLEH told Individual #15 “if you go through a different

  country it is easier.”

          On June 15, 2016, MUSLEH also made contact with Individual #11 [believed to also be

  Individual #10] via an encrypted mobile application. MUSLEH told Individual #11 that he was

  going to ask for tazkiya but Individual #5 said he would do it. MUSLEH inquired how

  Individual #11’s sister, an ISIS member, got married while in Syria. Individual #11 told

  MUSLEH that the state [ISIS] paid for rent and her mahr [marriage]. Individual #11 told

  MUSLEH you get all the perks only if you work for dawla [ISIS], which MUSLEH responded,

  “inshallah (God willing); of course.”

          Later on June 15, 2016, MUSLEH and Individual #5 again chatted about MUSLEH’s

  plan to travel and join ISIS. Individual #5 asked MUSLEH if his brother knew that he was

  coming [to join ISIS], and MUSLEH responded that his brother didn’t know and that his family


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  thought he was going on a vacation. MUSLEH told Individual #5 that his brother was “lost” and

  that he (MUSLEH) could not tell his brother about his plan because after MUSLEH told his

  brother about his last effort to travel [in June of 2015] “everyone knew” and “[it] scared my

  mom.” Individual #5 then discussed MUSLEH making another account in a different encrypted

  mobile application. Individual #5 then provided MUSLEH an account name for that encrypted

  mobile application and told MUSLEH, “[that account] is the brother u message once u reach

  turkey u talk to him before u leave and after your in ‘t’ [Turkey].”

         MUSLEH also had contact with Individual #14 on June 15, 2016, via an encrypted

  messaging application, concerning MUSLEH’s plan to travel and join ISIS. During their

  discussion Individual #14 asked MUSLEH if he knew anyone in Sham [Syria]. MUSLEH

  indicated that he knew two people there. Individual #14 asked MUSLEH if any of these two

  would be willing to provide MUSLEH his tazkiya. MUSLEH indicated that he would ask and

  then replied that yes the individuals he (MUSLEH) knew would be his ISIS sponsor. Individual

  #14 then told MUSLEH that she needed a bunch of information from him to include his name,

  where he lived, where he’s from, age, and that they (ISIS) needed to trust MUSLEH. Individual

  #14 told MUSLEH that another “brother” was asking for all this information and that if

  MUSLEH didn’t want to send it to her then Individual #5 could contact her and send her the

  information. Individual #14 told MUSLEH, “alright done.” MUSLEH asked what happened

  and if he was qualified, adding that he (MUSLEH) felt like he was applying for a job and that

  Individual #14 was the secretary. Individual #14 asked MUSLEH how much money he had and

  MUSLEH responded that he had about $3000. Later in the discussion, Individual #14 told

  MUSLEH, “let the brother [Individual #5] prepare the tazkia paper and send it to us..then Abu

  baraa [MUSLEH’s pseudonym] can travel.; tell [Individual #5] to prepare the tazkia and send it


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  to them.” MUSLEH responded, “so after paper everything good; when will it be safe?”

  Individual #14 told MUSLEH, “the state [ISIS] will pay for you but if you wanna buy extra stuff

  you gotta have your own money; and the brother said once the tazkiya is done the[sic] it’s safe to

  come.” MUSLEH responded, “Okay inshallah [God willing].”

         Following his contact with Individual #14, MUSLEH provided Individual #5 with

  Individual #14’s account for the encrypted mobile application. Individual #5 told MUSLEH that

  he would message the brother provided by Individual #14 that evening. Individual #5 told

  MUSLEH, “I’ll give u teskiya.” MUSLEH responded with celebratory emoji, i.e. “🎉🎉🎉.

         Later on June 15, 2016, MUSLEH and Individual #14 continued chatting on an encrypted

  mobile application, and Individual #14 told MUSLEH how Individual #1 joined ISIS. MUSLEH

  didn’t think Individual #1’s way to join ISIS was possible and questioned how Individual #1

  managed to beat MUSLEH in joining ISIS. MUSLEH indicated he couldn’t wait for Individual

  #1 in June 2015. MUSLEH and Individual #14 discussed MUSLEH’s information that he

  provided for his tezkia and Individual #14 asked why MUSLEH said he lived in Africa.

  MUSLEH responded that he said he was leaving from Africa, which was true. Individual #14

  asked MUSLEH “what are you doing in Africa?” And MUSLEH responded, “long story.”

  Individual #14 and MUSLEH joked about how she (Individual #14) helped Individual #1 join

  ISIS and Individual #14 told MUSLEH, “as in irhabi [terrorist] you have to rate me 9/11 :) if you

  know you know.” MUSLEH asked Individual #14 to reach out to Individual #1 to get

  information about the airport in Turkey. MUSLEH and Individual #14 then discussed marriage

  and how Individual #14 didn’t want to get married “as I wanna do jih…[jihad].” MUSLEH

  replied that he wanted his wife to do the same [jihad].



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         As their discussion continued via an encrypted messaging application, MUSLEH told

  Individual #14 that his social media account was blocked and asked her to open a new account

  for him. Individual #14 subsequently opened a new account for MUSLEH with the originating

  Internet Protocol address in Australia. MUSLEH asked Individual #14 what she did (for a job)

  and she replied, “help people who wanna make hij [travel to join ISIS] and gain ajr [reward] and

  be a irhabi [terrorist].” MUSLEH replied, “Lol.”

         On June 16, 2016, MUSLEH contacted Individual #5 via an encrypted mobile application

  and asked if he (MUSLEH) should fly to Turkey straight or as a connection. Individual #5 told

  MUSLEH that Turkey should be a connecting stop to somewhere else, but to book a period of

  “rest” in Turkey.

         On June 18, 2016, MUSLEH again made contact with Individual #5 via an encrypted

  mobile application. Individual #5 asked MUSLEH how soon he was leaving, and MUSLEH

  replied “Inshallah [God willing] very soon.” MUSLEH again asked Individual #5 what the

  daleel [evidence] was for the authority to take out loans from a bank in support of his effort to

  travel and join ISIS, and MUSLEH indicated he (MUSLEH) was going out that day to obtain

  loans. Individual #5 told MUSLEH his (Individual #5’s) evidence was that they were obtaining

  the loans from “kuffar” (non-Muslims) and we (ISIS) were at war with them. MUSLEH told

  Individual #5 that if it works, “I’ll make it rain.” MUSLEH told Individual #5, “I’m just excited

  for some reason; so hyped.”

         On June 19, 2016, MUSLEH contacted Individual #14 via an encrypted mobile

  application and asked where he should wait once he reached Turkey. Individual #14 replied, “so

  once the brother takes you from T [Turkey], you will be with him and whatever he told you to do

  and when it’s the right time to go, because I ain’t 100 sure how long it will take.”


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         Later on June 19, 2016, MUSLEH made contact with Individual #5 via an encrypted

  mobile application and discussed MUSLEH’s plan once he reached Turkey. Specifically,

  MUSLEH expressed concern about waiting once he reached Turkey, but Individual #5 told

  MUSLEH to go to Turkey, use the contact he was given, and that contact was the way to join

  ISIS not Individual #5.

         On June 21, 2016, FBI agents observed MUSLEH as he departed his residence in

  Brownsburg and was driven to the Greyhound Bus station in Indianapolis by his brother.

  MUSLEH was arrested by the FBI as he attempted to board a bus departing Indianapolis for New

  York. Subsequent to MUSLEH’s arrest, MUSLEH’s personal property, cellular telephone,

  luggage, and his residence in Brownsburg were all searched pursuant to federal warrants.

         As part of its investigation the FBI searched MUSLEH’s cellular telephone and other

  electronic devices. A review of MUSLEH’s electronic devices revealed numerous files, pictures,

  and videos depicting violence committed by ISIS, and several training manuals for military

  tactics and explosives. Also contained on his electronic devices were three issues of Inspire

  magazine, an English language publication by Anwar al-Awlaki from al-Qaeda in the Arabian

  Peninsula that incites terrorism against the U.S. and U.S. interests abroad. On MUSLEH’s

  phone FBI agents located a file containing a list of U.S. service members that ISIS had

  previously published as a “kill list.” Additionally, while reviewing the contents of MUSLEH’s

  phone, agents discovered that MUSLEH had taken a picture of lists containing the names of U.S.

  military service members from Indiana who had died during Operation Iraqi Freedom.

  MUSLEH incorporated those images into a “pro-jihad” video that MUSLEH produced. Below

  are a sample of images the FBI found on MUSLEH’s phone, including lists containing the names

  of U.S. military service members from Indiana, depictions of the execution of Egyptian Coptic


                                                  25
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  Christians and the burning alive of a Syrian Air Force pilot by ISIS, a picture of MUSLEH in his

  bedroom making a one-finger gesture commonly associated with ISIS fighters, another picture of

  MUSLEH in his bedroom wearing all black and standing in front of an ISIS flag, a picture of a

  tiger superimposed over an image of MUSLEH, and a meme that read: “I love this [United

  States] flag because its [sic] a key to Jannah for many Muslims.” Jannah in this context refers to

  martyrdom.




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         The last photo, depicting MUSLEH’s face superimposed over a tiger’s head and the ISIS

  flag warrants some explanation. According to the Combating Terrorism Center at the U.S.

  Military Academy,

                the lion is an important motif in Islamic art and culture, and evokes
                qualities of bravery, strength and valor for Muslim audiences … in
                the modern era, the lion has been deployed by Islamist authors
                such as Sayyid Qutb, and has become a key motif in jihadist
                propaganda as a symbol of honor for both major jihadi leaders and
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                  for low-ranking militants. It may also be used to suggest
                  martyrdom or designate a martyr-to-be.

  See, https://ctc.usma.edu/militant-imagery-project/0040/. While MUSLEH’s picture

  incorporates a tiger, and not a lion, the inclusion of the ISIS flag and imagery is very similar to

  other “commemorative” lion motifs published with the photos of notorious terrorist leaders.


  III.    Fashioning an Appropriate Sentence under 18 U.S.C. § 3553(a)

          In light of the facts of this case, the factors set forth in § 3553(a) weigh heavily in favor

  of a lengthy term of imprisonment for MUSLEH.

                  a. The nature and circumstances of the offense

          There can be no sugarcoating the nature and circumstances of the crime that occurred in

  this case. Akram MUSLEH sought to, agreed to, and repeatedly attempted to travel to join ISIS,

  a horrifically violent and brutal terrorist organization. In so doing, MUSLEH embraced the

  orthodoxy of ISIS; the use of indiscriminant killing, violence, and terror to achieve the

  organization’s goals. See, e.g., Graham Wood, THE ATLANTIC, What ISIS Really Wants

  (available at https://www.theatlantic.com/magazine/archive/2015/03/what-isis-really-

  wants/384980/) (illuminating ISIS’s views and explaining that “the lack of objective reporting

  from its territory makes the true extent of the slaughter unknowable, but social-media posts from

  the region suggest that individual executions happen more or less continually, and mass

  executions every few weeks”); see also United States v. Lutchman, 910 F.3d 33, 36-37 (2d Cir.

  2018) (“Lutchman pledged his allegiance to ISIL and stated his intention to ‘spill the blood’ of

  nonbelievers.”); United States v. Van Haften, 881 F.3d 543, 543 (7th Cir. 2018) (“Van Haften

  fits the typical profile of a terrorist: he believes that ISIS is fighting a holy war against

  America—a war that will culminate in the establishment of a global caliphate.”); United States v.


                                                     39
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  Farah, 899 F.3d 608, 612 (8th Cir. 2018) (“Daud and Farah longed for an opportunity to

  participate in an ISIL operation on American soil, and Omar looked forward to the demise of the

  United States: ‘[The infidels] are getting it. Allah will not let America be a superpower for this

  long . . . . [T]heir time is coming.’”).

             Between 2014 and 2016, during the peak of MUSELH’s efforts to join the terror

  organization, ISIS perpetrated hellish levels of violence in the Middle East and North Africa.

  But the reach of ISIS terror was far, and individuals and small cells of ISIS inspired terrorists

  have committed unspeakable acts of violence around the world. There have been countless

  bombings, mass shootings, and vehicle attacks in a number of major international cities

  including Paris, Nice, London, Berlin, Orlando, and San Bernardino. ISIS is a group that is at

  war with the west and unmistakably at war with the United States. And in the war with ISIS, the

  Southern District of Indiana has not remained unscathed.

             In October of 2013, around the time that MUSLEH was posting videos of Anwar al-

  Awlaki online and praising al-Awlaki’s message, 26 year old Abdul Rahman Kassig, a 2006

  graduate of North Central High School in Indianapolis, and former U.S. Army Ranger medic,

  was abducted by ISIS fighters in Syria. At the time of his abduction, Mr. Kassig was on a

  humanitarian aid mission to deliver hospital supplies to refugees in that war-torn country.19 In

  November of 2014, ISIS released a video confirming that Mr. Kassig had been violently

  beheaded. Given the number of news reports published in Indiana, and across the U.S., in late




  19
       https://www.newsweek.com/peter-kassig-isis-islamic-state-quran-syria-iraq-al-qaeda-282599
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  2014 concerning Mr. Kassig’s abduction and murder, 20 it is hard to imagine Mr. Kassig’s story

  escaped Musleh’s notice.21

          Yet from the contents of his electronic devices it is clear that MUSLEH was drawn to the

  barbarity of ISIS and sought to contribute to it. MUSLEH told his online contacts that he had

  pledged [his] allegiance to ISIS, MUSLEH consumed violent ISIS propaganda and even went so

  far as to produce his own jihad propaganda video which included lists of Hoosier service

  members, many near in age to MUSLEH, who were killed in action during Operation Iraqi

  Freedom. That kind of allegiance to ISIS, and committed willingness of foreign nationals like

  MUSLEH to travel and join ISIS, are essential to ISIS advancing its goals. See Wood, What ISIS

  Really Wants (“Tens of thousands of foreign Muslims are thought to have immigrated to the

  Islamic State. Recruits hail from France, the United Kingdom, Belgium, Germany, Holland,

  Australia, Indonesia, the United States, and many other places. Many have come to fight, and

  many intend to die.”).

          The point does not need to be belabored: ISIS has killed countless people, and seeks,

  without exaggeration, the destruction of the United States of America. See, e.g., United States v.

  Suarez, 893 F.3d 1330, 1332 (11th Cir. 2018) (“When the FBI arrested Harlem Suarez, he had

  already declared allegiance to the Islamic State of Iraq and al- Sham (ISIS), attempted to recruit

  others to join him in destroying the United States”), cert. denied, No. 18-6808, 2019 WL 113456

  (U.S. Jan. 7, 2019); Doe v. Mattis, 889 F.3d 745, 749 (D.C. Cir. 2018) (ISIS “controls territory in




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     See, e.g., https://www.indystar.com/story/news/2014/10/03/reports-indianapolis-man-named-next-isis-
  target/16667489/; https://www.indystar.com/story/news/2014/11/16/indy-native-kassig-destined-great-
  things/19146169/; https://www.reuters.com/article/us-mideast-crisis-beheading/u-s-hostage-peter-kassig-is-killed-
  by-islamic-state-idUSKCN0J008W20141116; https://www.usatoday.com/story/news/world/2014/11/16/peter-
  kassig-islamic-state-claims-beheading-syria/19128067/.
  21
     When interviewed by the FBI following MUSLEH’s arrest, MUSLEH’s mother acknowledged that the family
  saw media reports on ISIS/terrorists all the time because they were always being reported on.
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  Iraq and Syria, and has perpetrated and aided terrorism there and around the world, killing

  several thousand civilians, including American aid workers and journalists.”); United States v.

  Khusanov, 731 F. App’x 19 (2nd Cir. 2018) (noting that ISIS has a “history of particularly

  violent conduct” and “target[s] members of the United States armed forces serving abroad and

  encourage[s] terrorist acts within this country”) (citation omitted). MUSLEH aspired to join ISIS

  and help do those things.

         And there can be no doubt that MUSLEH truly meant to join. He went to great lengths to

  seek-out and communicate with ISIS fighters and facilitators, he said he would join, he

  purchased airline tickets on multiple occasions, he traveled to the airport and was turned back

  once, and it wasn’t until he was arrested boarding a bus en route to another airport in New York

  that he was finally stopped. MUSLEH’s was a very real effort. MUSLEH was not dissuaded

  from his quest to join the terror organization by the FBI visit to his high school in 2013, he was

  not dissuaded when the FBI interviewed his mother and step-father in April of 2015, he was not

  dissuaded when he was prevented from traveling, searched, and questioned by CBP at O’Hare

  Airport in June of 2015, and he was not dissuaded by the intercession of at least one local Imam

  who, as noted below, cautioned MUSLEH to avoid the “devil group” ISIS. It is not insignificant

  that only MUSLEH’s arrest and incarceration in the instant case would finally suffice to disrupt

  his violent ambitions.

         While law enforcement intercepted MUSLEH before he could actually join ISIS and kill

  anyone, that fact does not mitigate the dangerous plot that MUSLEH had concocted and set in

  motion—on two separate occasions. The nature and circumstances of MUSLEH’s offense are

  shocking. MUSLEH’s actions were inherently dangerous and implicate the Material Support

  statute’s raison d’etre. Section 2339B “criminalizes a range of conduct that may not be harmful


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  in itself but that may assist, even indirectly, organizations committed to pursuing acts of

  devastating harm.” United States v. Farhane, 634 F.3d 127, 148 (2d Cir. 2011). As the Supreme

  Court has stated, “[t]he material-support statute is, on its face, a preventive measure - - it

  criminalizes not terrorist attacks themselves, but aid that makes the attacks more likely to occur.”

  Holder v. Humanitarian Law Project, 561 U.S. 1, 35 (2010). In Boim v. Holy Land Found, for

  Relief & Dev., 549 F.3d 685, 690 (7th Cir. 2008) (en banc), the Seventh Circuit held that giving

  money to Hamas, in violation of Section 2339B, necessarily involves an act “dangerous to

  human life.” As Boim reasoned, providing financial support to Hamas, “by augmenting Hamas’s

  resources, would enable Hamas to kill or wound, or try to kill, or conspire to kill more people[.]”

  Id. at 694. Boim’s reasoning is doubly persuasive in this case.

         Volunteering oneself to a Foreign Terrorist Organization is, arguably, the most dangerous

  form of material support. As one court, citing Boim, recently held, “[c]ertainly attempting to

  provide oneself to a designated terrorist organization is at least, if not more, dangerous to human

  life than merely providing money.” United States v. Amri, No. 1:17-CR-50 (LMB), 2017 WL

  3262254, at *15 (E.D. Va. July 31, 2017), aff’d sub nom. United States v. Queen, 738 F. App’x

  794 (4th Cir. 2018); see also United States v. Taleb-Jedi, 566 F.Supp.2d 157, 167-69 (E.D.N.Y.

  2008) (“the provision of personnel, like the provision of money, acts to free up others in a

  terrorist organization to engage in violence and other acts of terrorism”). This is so not just

  because the provision of oneself to a Foreign Terrorist Organization frees up the group’s

  resources, but because those who “knowingly [seek] to join a terrorist group . . . risk . . . being

  turned against the United States.” United States v. Tounisi, 900 F.3d 982, 986-88 (7th Cir. 2018)

  (stating that the defendant had “align[ed] himself with a group that advocates for the destruction

  of the United States and . . . placed himself at risk of becoming ‘a pawn’ in a future attack


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  against the country”). MUSLEH’s actions directly implicate these concerns and, therefore, merit

  a harsh sanction.

                 b. History and characteristics of the defendant

         While the government concedes that MUSLEH faced adversity from a very young age by

  the death of his father, during the Presentence Investigation MUSLEH nevertheless reported that

  he was surrounded by his family during his childhood. For a period of years MUSLEH and his

  family lived in Jerusalem with an aunt and an uncle. MUSLEH reported that his aunt had a

  home in a nice neighborhood and he (MUSLEH) has nice memories of living in Jerusalem.

  Despite the violence that he witnessed in Jerusalem, MUSLEH told the probation officer that he

  enjoyed living there, but after six years he was ready to come back to the U.S.

         At the time of his arrest in the instant case, MUSLEH was living in Brownsburg with his

  mother and sisters. He was also a recent graduate of Brownsburg High School, and he was

  employed at Walmart. The Presentence Investigation reveals that MUSLEH’s mother was

  married to an abusive man from approximately 2012 to 2014, when MUSLEH was between 15

  and 17 years old, however, the presentence investigation also appears to indicate that MUSLEH

  stood up to his step-father as he “made several phone calls to 911 regarding the abuse” of his

  mother.

         The FBI investigation also paints a picture of MUSLEH was a strong-willed and in

  control individual. When interviewed by the FBI concerning the Brownsburg Park incident in

  April of 2015, both MUSLEH’s mother and step-father advised agents that they did not have

  access to MUSLEH’s phone or passport because MUSLEH would not give them access to the

  phone and he had hidden his passport from his mother.




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         Following MUSLEH’s arrest in June of 2016, the FBI again interviewed MUSLEH’s

  mother and (former) step-father, as well as Imams from two separate mosques in the Indianapolis

  area, among others. MUSLEH’s mother acknowledged that MUSLEH had purchased an ISIS

  flag and put it in his bedroom, but told agents she did not approve of the flag and that she took it

  away from MUSLEH. MUSLEH’s mother acknowledge that MUSLEH had watched CD’s

  containing sermons from Anwar al-Awlaki, but MUSLEH’s mother denied that MUSLEH

  harbored any ISIS sympathies, and told agents that her son “thinks [ISIS] are dogs.” MUSLEH’s

  mother blamed MUSLEH’s step-father for MUSLEH’s past “angry behavior,” but claimed

  MUSLEH was “much better” after she had gotten divorced and since the FBI had talked to

  MUSLEH at his school. MUSLEH’s mother told agents that, at the time of his arrest, MUSLEH

  did not have a spiritual advisor or teacher, and instead he read the Quran on his own. She also

  advised agents that MUSLEH used to go to the mosque often but now he mostly prayed at home.

         MUSLEH’s former step-father, Amjad Salhab, was interviewed and told agents that he

  was aware of MUSLEH’s interest in ISIS. Salhab advised agents that MUSLEH had hung up a

  black ISIS flag in his bedroom and Salhab did not approve of the flag and wanted it taken down.

  Salhab told agents he believed one of MUSLEH’s uncles took the flag down. Salhab also told

  agents that he (Salhab) had relayed his concerns about MUSLEH’s interest in ISIS to the Imams

  of two mosques the family attended in the Indianapolis area.

         The Imam from Mosque #1 (Imam #1) advised agents that MULEH had attended his

  mosque and had come to him to learn about Islam. Imam #1 told agents that he had taught

  MUSLEH to fast and pray, but also that he had become concerned about MUSLEH 18 months

  prior to MUSLEH’s arrest, when MUSLEH had come to Imam #1 with questions about the

  teachings of ISIS. Imam #1 recalled that, around the same time, MUSLEH’s former step-father,


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  Amjad Salhab, came to Imam #1 with concerns about MUSLEH’s interest in ISIS. Imam #1

  described Salhab as angry about MUSLEH’s interest in ISIS.

         Imam #1 advised agents that he told MUSLEH to stay away from ISIS as it was a “devil

  group,” but that MUSLEH’s questions and his step-father’s concerns prompted Imam #1 and his

  wife to speak with MUSLEH’s mother about the situation. Imam #1 told agents that he advised

  MUSLEH’s mother to watch her son closely and monitor his online activity because he was

  asking questions about ISIS. Imam #1 indicated he told MUSLEH’s mother to monitor his

  online activity on at least two or three separate occasions. According to Imam #1, MUSLEH did

  not attend the mosque for several months after the conversation with MUSLEH’s mother. When

  MUSLEH returned to the mosque, about 12 months prior to his arrest, MUSLEH was wearing a

  black turban while attending prayers. Imam #1 confronted MUSLEH and told MUSLEH not to

  wear the black turban to the mosque as Imam #1 believed the black turban is worn by and

  symbolizes ISIS. MUSLEH replied that he (MUSLEH) had no connection to ISIS. Imam #1

  advised agents that MUSLEH attended the mosque infrequently and was not a regular member of

  the community after Imam #1 confronted MUSLEH about wearing the black turban.

         Imam #2 was interviewed and advised agents that MUSLEH used to attend his mosque,

  but left and began attending Mosque #1. According to Imam #2, MUSLEH’s departure from his

  mosque was precipitated by a discussion Imam #2 had with MUSLEH over riding his bike to the

  mosque for dawn prayers at 5:00 a.m. Imam #2 told agents he was concerned for MUSLEH’s

  safety in making a long and dangerous bike ride to the mosque at that hour, and so Imam #2 told

  MUSLEH it was acceptable for MUSLEH to make his dawn prayers at home. MUSLEH

  questioned Imam #2 about the permissibility of making dawn prayers at home, which Imam #2

  interpreted as MUSLEH thinking that Imam #2 was providing incorrect advice. Imam #2 was


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  surprised that MUSLEH would question his advice, especially since it was born out of a concern

  for MUSLEH’s safety. Imam #2 considered the questioning of his advice by MUSLEH as

  condescension, and Imam #2 told agents that episode contributed to Imam #2’s feeling of

  “weirdness” about MUSLEH. Neither Imam #1 nor Imam #2 believed MUSLEH was mentally

  ill or suffering from any mental illness. Instead, it is clear both men observed MUSLEH

  exhibiting strong, independent views on his religion and not accepting their well-intentioned

  guidance.

                 c. Avoiding sentencing disparities

         The government highlights below recent cases in which defendants received sentences in

  line with what the government is recommending for MUSLEH following their convictions under

  18 U.S.C. §2339B for providing personnel to support Foreign Terrorist Organizations.

                 United States v. Alebbini: On June 13, 2019, in the Southern District of Ohio,
                 Laith Waleed Alebbini (“Alebbini”) was sentenced to 15 years’ imprisonment
                 followed by 25 years of supervised release. Alebbini had been convicted on two
                 counts charging him with attempting and conspiring to provide material support
                 and resources to the Islamic State of Iraq and al-Sham (“ISIS”), in violation of 18
                 U.S.C. § 2339B(a)(1).

                 On April 26, 2017, Alebbini was arrested at the Cincinnati-Northern Kentucky
                 International Airport after he obtained his boarding pass and moved towards
                 security. Alebbini had told friends and a Confidential Human Source (“CHS”) that
                 he supported ISIS and intended to fight with ISIS. Specifically, Alebbini
                 proclaimed: “I am a man who hates Bashar and wants to go fight Bashar. The
                 Islamic State is fighting Bashar and I will fight with the Islamic State to fight Bashar
                 . . . I want to fight Bashar because, to be honest, I am with the Islamic State.” Mere
                 days before Alebbini’s arrest, he told the CHS that he wanted to be “active” within
                 the Islamic State: “My goal—my goal is not just to go to the [Islamic] State. My
                 goal is to be active in the [Islamic] State.” On April 24, 2017, Alebbini purchased
                 airline tickets to travel from Ohio to Jordan, with layovers in Chicago, Illinois, and
                 Istanbul, Turkey. Alebbini intended to leave the airplane during the layover in
                 Turkey and travel to ISIS territory in Syria.


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              United States v. Naji: On June 14, 2019, in the Eastern District of New York,
              Mohamed Rafik Naji (“Naji”), was sentenced to 20 years imprisonment after
              pleading guilty to a one-count indictment charging him with attempting to provide
              material support to the Islamic State of Iraq and al-Sham (“ISIS”), a foreign
              terrorist organization, in violation of 18 U.S.C. § 2339B.

              In March 2015, Naji traveled from Brooklyn, New York to Yemen where he
              stayed for seven months before returning to New York. While in Yemen, Naji
              repeatedly attempted to enter territory controlled by ISIS, so he could join
              ISIS. In emails to an associate in the U.S., Naji explained that he tried at least
              five times to reach ISIS-controlled territory. He stated that he had spent six days
              hiding in the mountains and claimed to have been almost killed by the
              “army.” He also sent his associate a photograph of men walking along a road
              carrying weapons and a photograph of himself dressed in black holding a
              knife. Subsequently, he sent an email to his associate with the subject line that
              stated “First day on the job” that contained a media file with the sound of
              gunfire. Upon Naji’s request, his associate sent him a total of $6,750.00 via wire
              transfer while he was in Yemen. Following these email exchanges and the
              transfer of money, Naji instructed his associate to “erase all [yo]ur messages,”
              “even from your trash.”

              While in Yemen, Naji also engaged in online conversations with a confidential
              source. During those conversations, he told the confidential source, “I belong to
              Islamic state only.” He also instructed the confidential source that in order to join
              “dawlat islam,” referring to ISIS, the source should travel to Hadramout, an area
              in southern Yemen. Naji continued to have conversations with the confidential
              source after he returned to the United States in September, 2015. During these
              conversations, Naji discussed ways to travel overseas to join ISIS and spoke
              favorably about the July 2016 terrorist attack in Nice, France and about a
              hypothetical future attack in Times Square, New York, in which an ISIS supporter
              would drive a garbage truck into pedestrians.

              United States v. Zakaryia Abdin: On June 10, 2019, in the District of South
              Carolina, the court sentenced Zakaryia A. Abdin (“Abdin”), a 20 year-old U.S.
              citizen, to 20 years’ imprisonment followed by lifetime supervised release for
              attempting to provide material support to the Islamic State of Iraq and al-Sham
              (ISIS), a designated foreign terrorist organization, in violation of 18 U.S.C. §
              2339B.

              On March 31, 2017, the FBI arrested Abdin after he traveled to the Charleston
              airport and once in the airport, he took substantial steps toward traveling
              overseas. Abdin had purchased a ticket to Jordan and, upon arrival, his intention

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                 was to travel to Egypt to join ISIS. The investigation revealed that Abdin was
                 involved in extensive online communications with an individual whom he
                 believed to be a member of ISIS, but who was actually an FBI undercover
                 employee. During these communications, Abdin pledged his allegiance to ISIS
                 and expressed his desire to travel overseas to fight on their behalf. If he was
                 unsuccessful in traveling overseas, his plan was to engage in an attack
                 domestically. Adbin entered a guilty plea on August 8, 2018 and has remained in
                 federal custody since his arrest.

                 United States v. Raishani: On April 2, 2019, in the Southern District of New
                 York, Adam Raishani, a/k/a “Saddam Mohamed Raishani” (“Raishani”), 32 years
                 of age and a naturalized U.S. citizen of Yemeni descent, was sentenced to 20
                 years’ imprisonment for attempting to provide material support and resources to
                 the Islamic State of Iraq and al-Sham (“ISIS”), in violation 18 U.S.C. § 2339B,
                 and five years’ imprisonment for conspiracy to provide material support and
                 resources to ISIS, in violation of 18 U.S.C. § 371, to be served concurrently,
                 followed by 23 years of supervised release.

                 On June 21, 2017, the FBI arrested Raishani at John F. Kennedy International
                 Airport as he was attempting to board a flight to Lisbon, Portugal with a final
                 destination of Istanbul, Turkey. Raishani had intended to cross into Syria and fight
                 on behalf of ISIS. Raishani was subsequently indicted and charged with attempting
                 to provide material support to ISIS, in violation of § 2339B, conspiring to provide
                 material support to ISIS, in violation of § 2339B, and aiding and abetting another’s
                 attempt to provide, and provision of, material support to ISIS, in violation of §§
                 2339B and 2, for his role in facilitating the travel of another individual to join ISIS
                 in October 2015. On November 14, 2018, Raishani entered a guilty plea to both
                 counts of a two-count superseding information.

  IV.    Conclusion

         For the foregoing reasons, and for the reasons set out in the government’s separate

  motion pursuant to U.S.S.G. §5K1.1, the United States submits that the only sentence that will

  accomplish the statutory goals of sentencing in this case is a sentence of at or near 192 months of

  imprisonment, followed by a lifetime term of supervised release. Such a sentence would give

  MUSLEH credit for his cooperation to date, while also taking into consideration the need for the

  sentence to reflect the grave nature of the offense, provide general and specific deterrence, and

  protect the public from future crimes of the defendant.
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         Accordingly, the government asks the Court to impose a sentence at or near 192 months

  of imprisonment, followed by a lifetime term of supervised release

                                               Respectfully Submitted,

                                               JOSH J. MINKLER
                                               United States Attorney

                                        By:    s/Matthew J. Rinka
                                               Matthew J. Rinka
                                               Assistant United States Attorney




                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 17, 2019, a copy of the foregoing Government’s Sentencing

  Memorandum was filed electronically. Notice of this filing will be sent to the following parties

  by operation of the Court’s electronic filing system. Parties may access this filing through the

  Court’s system.

  Thomas A. Durkin
  ATTORNEY AT LAW


                                        By:    s/Matthew J. Rinka
                                               Matthew J. Rinka
                                               Assistant United States Attorney




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